12/1/21, 10:58 AM   Case:https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=2021-L-010195&SearchType=0&Database=2&case_no=&PL…
                            1:21-cv-06456 Document #: 1-2 Filed: 12/02/21 Page 1 of 3 PageID #:24




                                         Case Information Summary for Case Number
                                                       2021-L-010195

                                                                                        Case Type: PREMISES
               Filing Date: 10/18/2021
                                                                                        LIABILITY
               Division: Law Division                                                   District: First Municipal
               Ad Damnum: $50000.00                                                     Calendar: B
                                                           Party Information

               Plaintiff(s)                                                             Attorney(s)
                                                                                        DEAN J
               CASARA CHERISE
                                                                                        CARAS&ASSCIATES PC
                                                                                        320W ILLINOIS#2312
                                                                                        CHICAGO IL, 60654
                                                                                        (312) 494-1500
               Defendant(s)                          Defendant Date of Service          Attorney(s)
               TGI FRIDAY'S INC.

                                                              Case Activity

               Activity Date: 10/18/2021                                                Participant: CASARA      CHERISE
                               PREMISES LIABILITY COMPLAINT FILED (JURY DEMAND)
                             Court Fee: 600.50                                     Attorney: DEAN J
                Ad Damnum Amount: 50000.00                                                   CARAS&ASSCIATES PC


               Activity Date: 10/18/2021                                                Participant: CASARA      CHERISE
                                                         CERTIFICATE FILED
                Ad Damnum Amount: 50000.00


               Activity Date: 10/18/2021                                                Participant: CASARA      CHERISE
                                            SUMMONS ISSUED AND RETURNABLE
                                                                                   Attorney: DEAN J
                Ad Damnum Amount: 50000.00
                                                                                             CARAS&ASSCIATES PC

                                                                                                                            EXHIBIT
               Activity Date: 10/18/2021                                                Participant: CASARA      CHERISE
                                                                                                                                   2
https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=2021-L-010195&SearchType=0&Database=2&case_no=&PLtype=1&sname=&CD…      1/3
12/1/21, 10:58 AM   Case:https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=2021-L-010195&SearchType=0&Database=2&case_no=&PL…
                            1:21-cv-06456 Document #: 1-2 Filed: 12/02/21 Page 2 of 3 PageID #:25
                                                         ELECTRONIC NOTICE SENT
                                                                                   Attorney: DEAN J
                                                                                             CARAS&ASSCIATES PC
                                                                                 Microfilm: LD000000000


               Activity Date: 10/18/2021                                                Participant: CASARA      CHERISE
                                           CASE MANAGEMENT DATE GENERATED
                                 Date: 12/23/2021
                          Court Time: 1000


               Activity Date: 11/05/2021                                                Participant: CASARA      CHERISE
                                                     NOTICE OF MOTION FILED
                                                                                   Attorney: DEAN J
                                                                                             CARAS&ASSCIATES PC


               Activity Date: 11/05/2021                                                Participant: CASARA      CHERISE
                                                      ROUTINE MOTION FILED
                                                                                   Attorney: DEAN J
                                                                                             CARAS&ASSCIATES PC


               Activity Date: 11/10/2021                                                Participant: CASARA      CHERISE
                                                    AMENDED COMPLAINT FILED
                                                                                   Attorney: DEAN J
                                                                                             CARAS&ASSCIATES PC


               Activity Date: 11/10/2021                                                Participant: CASARA      CHERISE
                                             SUMMONS ISSUED AND RETURNABLE
                                                                                   Attorney: DEAN J
                                                                                             CARAS&ASSCIATES PC


               Activity Date: 11/10/2021                                                Participant: CASARA      CHERISE
                                             SUMMONS ISSUED AND RETURNABLE
                                                                                   Attorney: DEAN J
                                                                                             CARAS&ASSCIATES PC


               Activity Date: 11/10/2021                                                Participant: CASARA      CHERISE
                                             SUMMONS ISSUED AND RETURNABLE
                                                                                   Attorney: DEAN J
                                                                                             CARAS&ASSCIATES PC


https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=2021-L-010195&SearchType=0&Database=2&case_no=&PLtype=1&sname=&CD…      2/3
12/1/21, 10:58 AM   Case:https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=2021-L-010195&SearchType=0&Database=2&case_no=&PL…
                            1:21-cv-06456 Document #: 1-2 Filed: 12/02/21 Page 3 of 3 PageID #:26
               Activity Date: 11/10/2021                                                Participant: CASARA      CHERISE
                                            SUMMONS ISSUED AND RETURNABLE
                                                                                   Attorney: DEAN J
                                                                                             CARAS&ASSCIATES PC


               Activity Date: 11/10/2021                                                Participant: CASARA      CHERISE
                                                      NOTICE OF FILING FILED
                                                                                   Attorney: DEAN J
                                                                                             CARAS&ASSCIATES PC


               Activity Date: 11/10/2021                                                             Participant: CASARA

                                             ISSUE ALIAS SUMMONS - ALLOWED -
                                                                                      Judge: CLEARY, GERALD V.


               Activity Date: 11/10/2021                                                             Participant: CASARA

                                      AMEND COMPLAINT OR PETITION - ALLOWED -
                                                                                      Judge: CLEARY, GERALD V.


               Activity Date: 11/29/2021                                                Participant: CASARA      CHERISE
                                                     PROOF OF SERVICE FILED
                                                                                   Attorney: DEAN J
                                                                                             CARAS&ASSCIATES PC


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                      Circuit Court of Cook County warrants the accuracy, completeness, or the currency
                       of this data. This data is not an official record of the Court or the Clerk and may
                                          not be represented as an official court record.

                      If data does not appear in a specific field, we likely do not have the responsive data
                                                     in our master database.




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